 Case: 1:17-md-02804-DAP Doc #: 603-1 Filed: 06/11/18 1 of 2. PageID #: 14962




                                    1301 K Street, N. W.
                              WASHINGTON, D.C. 20071-7403
                                      (202) 334-6000




OPEN RECORDS LAW REQUEST
VIA EMAIL: rtriozzi@cuyahogacounty.us

Mr. Robert J. Triozzi
Cuyahoga County Department of Law
Cuyahoga County Headquarters
2709 East Ninth Street
Cleveland, OH 44308

June 7, 2018

Dear Mr. Triozzi:
Under the Ohio Open Records Law, §149.43 et seq., we are requesting electronic
copies of Drug Enforcement Administration ARCOS data furnished to the County
of Cuyahoga, Ohio, in the case: County of Cuyahoga, Ohio, V. Purdue Pharma,
#17-OP-45004. The data was transferred to the county by the Judicial Panel in
Multidistrict Litigation Re: National Prescription Opiate Litigation, #17-md-2804
in the Northern District of Ohio. We are requesting that this data be provided to
The Washington Post in electronic format.
We are making this request on behalf of The Washington Post, a news organization
based in Washington, D.C. The records disclosed will be used in the preparation of
news articles for dissemination to the public. For purposes of fee assessments, we
request that you waive all fees in the public interest because the information will
contribute to public understanding of the opioid epidemic. If you decline to waive
all fees, we are prepared to pay your normal fees for news media requesters. Please
notify us if you expect the processing fees to exceed $100. This information is not
being sought for commercial purposes.


                                                                  GOVERNMENT
                                                                    EXHIBIT

                                                                       A
    Case: 1:17-md-02804-DAP Doc #: 603-1 Filed: 06/11/18 2 of 2. PageID #: 14963



We also request a prompt response to this request. If you expect a significant delay
in responding to or in fulfilling this request, please contact us with information
about when we might expect copies of the requested records.
If you deny any or all of this request, please cite each specific exemption you feel
justifies the refusal to release the information and notify us of the appeal
procedures available to us under the law.
Finally, we are requesting that you communicate with us via telephone or e-mail,
rather than by U.S. mail.

Thank you for your consideration and prompt attention to this request.

Very truly yours,



Scott Higham
Washington Post Staff Writer
1301 K Street, NW
Washington DC 20071
202-334-7947
scott.higham@washpost.com



Katie Zezima
Washington Post Staff Writer
1301 K Street, NW
Washington DC 20071
202-334-9607
Katie.zezima@washpost.com
 
